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13
                        UNITED STATES DISTRICT COURT
14                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15   JAMES MILLER, an individual;                     Case No. '19CV1537 JAH AGS
16   PATRICK RUSS, an individual;
     RYAN PETERSON, an individual; and                COMPLAINT FOR
17
     SAN DIEGO COUNTY GUN OWNERS                      DECLARATORY AND
18   POLITICAL ACTION COMMITTEE, a                    INJUNCTIVE RELIEF
19
     membership organization,
                        Plaintiffs,
20
           vs.
21
     XAVIER BECERRA, in his official
22
     capacity as Attorney General of
23   California; and MARTIN HORAN, in
     his official capacity as Chief of the
24
     Department of Justice Bureau of
25   Firearms,
26                      Defendants.
27
28

                                                –1–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1         Plaintiffs, JAMES MILLER, PATRICK RUSS, RYAN PETERSON, and
 2
     SAN DIEGO COUNTY GUN OWNERS POLITICAL ACTION COMMITTEE
 3
 4   (PAC) (“Plaintiffs”), by and through their undersigned counsel, hereby allege as
 5   follows:
 6
 7                                    INTRODUCTION
 8
           1.    This is a facial and as applied constitutional challenge to California
 9
     Penal Code §§ 30515(a)(2) and 30515(a)(5), California Code of Regulations
10
11   § 5471, subdivs. (b), (n), and (p), and Defendants policies, practices, customs, and
12
     enforcement of said law, which define and prohibit certain firearms as “assault
13
14   weapons” solely because they feature “large-capacity” magazines (capable of
15   holding more than ten rounds of ammunition) as defined by Pen. Code § 16740 and
16
     regulated under the now-enjoined Penal Code § 32310. Duncan v. Becerra, Case
17
18   No. 3:17-cv-1017-BEN-JLB (ECF No. 87). Subdivisions (a)(2) and (a)(5) of Penal
19
     Code § 30515 violate the Second Amendment to the United States Constitution by
20
21   prohibiting law-abiding citizens, including these individual plaintiffs, from

22   obtaining, acquiring, possessing, manufacturing or transferring firearms in
23
     common use for lawful purposes such as self-defense inside and outside the home,
24
25   competition, sport, and hunting. To the extent that other provisions of the Penal
26
     Code limit, prevent, or otherwise punish activity premised upon the legal definition
27
     of “assault weapon” under Penal Code §§ 30515(a)(2) and 30515(a)(5), injunctive
28

                                                –2–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   relief should also be granted to prevent enforcement of them, through Penal Code
 2
     §§ 30600    (prohibiting    manufacture,       transportation),         30605   (prohibiting
 3
 4   possession), 30800 (permitting seizure as a “nuisance”), 30910 (prohibiting sale),
 5   30915 (prohibiting transfer by bequest/inheritance), 30945 (limiting use), and
 6
     31000 (requiring permits for use).
 7
 8         2.    This District Court already has ruled the state’s prohibition on the
 9
     possession of large-capacity magazines is unconstitutional, and has enjoined and
10
11   prohibited enforcement of those provisions of the Penal Code that would have

12   prohibited their possession. Both implicit and explicit in this District Court’s
13
     ruling was the ability to use such lawfully possessed magazines in otherwise
14
15   lawfully possessed firearms. Thus, the prohibitions that attach to the possession
16
     and use of a certain legislatively-invented class of otherwise commonly used,
17
18
     constitutionally protected non-“assault weapon” firearms, but for and emanating

19   solely from their use in conjunction with a constitutionally protected magazine, are
20
     likewise invalid and should be stricken.
21
22                                      THE PARTIES
23
           3.    Plaintiff James Miller is an individual, and a law-abiding California
24
     resident of the County of San Diego, California. Mr. Miller holds an active license
25
26   to carry a concealed weapon (“CCW”) issued by his County sheriff, after proving
27
     “good cause” and “good moral character” to his licensing authority; successfully
28

                                                –3–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   completing a course of training on the law and firearms proficiency; and passing an
 2
     extensive Live Scan-based background check and placement into the State’s
 3
 4   system for monitoring law enforcement contact, arrests, and criminal convictions
 5   (“Rap Back”). Plaintiff Miller is the owner of a semi-automatic centerfire rifle,
 6
     expressly not defined as an assault weapon under California law by virtue of it
 7
 8   having a “fixed magazine” as defined by Cal. Pen. Code § 30515(b). Plaintiff
 9
     Miller further has legally acquired and currently possesses so-called “large-
10
11   capacity magazines,” as that term is defined by Pen. Code § 16740 and regulated

12   under the now-enjoined Penal Code § 32310. Plaintiff Miller seeks to use his
13
     lawfully acquired large-capacity magazine(s) in his California-compliant, “fixed
14
15   magazine rifle.” However, Plaintiff Miller is prevented from lawfully doing so
16
     without risk of persecution resulting in injury to his life and liberty; and the
17
18
     unlawful confiscation and loss of his personal property because said use would

19   reclassify his rifle as a prohibited “assault weapon” as defined by Pen. Code
20
     § 30515(a)(2). Plaintiff Miller herein would like to exercise his rights guaranteed
21
22   by the Second Amendment to keep and bear arms, by possessing a semiautomatic,
23
     centerfire rifle, in common use for lawful purposes, but which the State considers
24
     an “assault weapon” solely by virtue of its magazine capacity. Plaintiff Miller is a
25
26   member and Board Member of Plaintiff San Diego County Gun Owners PAC.
27
           4.    Plaintiff Patrick Russ is an individual, and a law-abiding California
28

                                                –4–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   resident of the County of San Diego, California. Mr. Russ holds an active license
 2
     to carry a concealed weapon (“CCW”) issued by his County sheriff, after proving
 3
 4   “good cause” and “good moral character” to his licensing authority; successfully
 5   completing a course of training on the law and firearms proficiency; and passing an
 6
     extensive Live Scan-based background check and placement into the State’s
 7
 8   system for monitoring law enforcement contact, arrests, and criminal convictions
 9
     (“Rap Back”). Plaintiff Russ is the owner of a centerfire rifle, expressly not
10
11   defined as an assault weapon under California law by virtue of it having a “fixed

12   magazine” as defined by Cal. Pen. Code § 30515(b). Plaintiff Russ further has
13
     legally acquired and currently possesses so-called “large-capacity magazines,” as
14
15   that term is defined by Pen. Code § 16740 and regulated under the now-enjoined
16
     Penal Code § 32310.         Plaintiff Russ seeks to use his lawfully acquired
17
18
     “large-capacity” magazine(s) in his California-compliant, fixed magazine rifle.

19   However, Plaintiff Russ is prevented from lawfully doing so without risk of
20
     persecution resulting in injury to his life and liberty; and the unlawful confiscation
21
22   and loss of his personal property because said use would reclassify his rifle as a
23
     prohibited “assault weapon” as defined by Pen. Code § 30515(a)(2). Plaintiff Russ
24
     herein would like to exercise his rights guaranteed by the Second Amendment to
25
26   keep and bear arms, by possessing a semiautomatic, centerfire rifle, in common use
27
     for lawful purposes, but which the State considers an “assault weapon” solely by
28

                                                –5–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   virtue of its magazine capacity. Plaintiff Russ is a member of Plaintiff San Diego
 2
     County Gun Owners PAC.
 3
 4         5.     Plaintiff Ryan Peterson is an individual, and a law-abiding California
 5   resident of the County of San Diego, California. Mr. Peterson holds an active
 6
     license to carry a concealed weapon (“CCW”) issued by his County sheriff, after
 7
 8   proving “good cause” and “good moral character” to his licensing authority;
 9
     successfully completing a course of training on the law and firearms proficiency;
10
11   and passing an extensive Live Scan-based background check and placement into

12   the State’s system for monitoring law enforcement contact, arrests, and criminal
13
     convictions (“Rap Back”). Plaintiff Peterson is the owner of a pistol, expressly not
14
15   defined as an assault weapon under California law by virtue of it having a “fixed
16
     magazine” as defined by Cal. Pen. Code § 30515(b). Plaintiff Peterson further has
17
18
     legally acquired and currently possesses so-called “large-capacity magazines,” as

19   that term is defined by Pen. Code § 16740 and regulated under the now-enjoined
20
     Penal Code § 32310.       Plaintiff Peterson seeks to use his lawfully acquired
21
22   large-capacity magazine(s) in his California-compliant, fixed magazine pistol.
23
     However, Plaintiff Peterson is prevented from lawfully doing so without risk of
24
     persecution resulting in injury to his life and liberty; and the unlawful confiscation
25
26   and loss of his personal property because said use would reclassify his pistol as an
27
     “assault weapon” as defined by Pen. Code § 30515(a)(5). Plaintiff Peterson herein
28

                                                –6–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   would like to exercise his rights guaranteed by the Second Amendment to keep and
 2
     bear arms, by possessing a firearm, in common use for lawful purposes, but which
 3
 4   the State considers an “assault weapon” solely by virtue of its magazine capacity.
 5   Plaintiff Peterson is a member and Board Member of Plaintiff San Diego County
 6
     Gun Owners PAC.
 7
 8         6.     Plaintiff San Diego County Gun Owners PAC (SDCGO) is a non-
 9
     profit membership organization whose purpose is to protect and advance the
10
11   Second Amendment rights of residents of San Diego County, California. SDCGO’s

12   membership consists of Second Amendment supporters, people who own guns for
13
     self-defense or sport, firearms dealers, shooting ranges, and elected officials who
14
15   want to restore and protect the right to keep and bear arms in California. The
16
     interests that SDCGO seeks to protect in this lawsuit are germane to the
17
18
     organization’s purposes, and, therefore, SDCGO sues on its own behalf, and on

19   behalf of its members, including individual Plaintiffs named herein.
20
           7.     Defendant Xavier Becerra is the Attorney General of the State of
21
22   California, and is sued herein in his official capacity. Under Article 5, § 13 of the
23
     California Constitution, Attorney General Becerra is the “chief law officer of the
24
     State,” with a duty “to see that the laws of the state are uniformly and adequately
25
26   enforced.” Defendant Becerra is the head of the California Department of Justice
27
     (“DOJ”). The DOJ and its Bureau of Firearms regulate and enforce state law
28

                                                –7–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   related to the sales, transfer, possession, and ownership of firearms. The Attorney
 2
     General and DOJ maintain an office in San Diego, California.
 3
 4         8.     Defendant Martin Horan is the Chief of the DOJ’s Bureau of
 5   Firearms. On information and belief, Defendant Horan reports to Attorney General
 6
     Becerra, and he is responsible for the various operations of the Bureau of Firearms,
 7
 8   including the implementation and enforcement of the statutes, regulations and
 9
     policies regarding assault weapons.        Defendant Horan is sued in his official
10
11   capacity.

12                            JURISDICTION AND VENUE
13
           9.     This Court has jurisdiction over all claims for relief pursuant to
14
15   28 U.S.C. §§ 1331, 1343, 2201, 2202 and 42 U.S.C. §§ 1983 and 1988, as this
16
     action seeks to redress the deprivation under color of the laws, statutes, ordinances,
17
18
     regulations, customs, and usages of the State of California, of the rights, privileges

19   or immunities secured by the United States Constitution.
20
           10.    Venue is proper under 28 U.S.C. § 1391(b), as the events giving rise
21
22   to Plaintiffs’ causes of action arose or exist in this district in which the action is
23
     brought. Venue is also proper under 28 U.S.C. § 1391, as the venue rules of this
24
     State specifically would permit this action to be filed in San Diego, since the
25
26   Attorney General and California Department of Justice maintain an office within
27
     this Division; Cal. Code of Civ. Pro. § 401(1).
28

                                                –8–
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1               CONSTITUTIONAL AND STATUTORY BACKGROUND
 2
                                    The Second Amendment
 3
 4         11.    The Second Amendment to the United States Constitution states that
 5   “the right of the people to keep and bear arms, shall not be infringed.” U.S. Const.,
 6
     Amend. II. Moreover, the Second Amendment “elevates above all other interests
 7
 8   the right of law-abiding, responsible citizens to use arms in defense of hearth and
 9
     home.” District of Columbia v. Heller, 554 U.S. 570, 635 (2008). The Second
10
11   Amendment protects “arms….of the kind in common use…. for lawful purposes

12   like self-defense.” Id., 554 U.S. at 624.
13
           12.    As the Court subsequently held in McDonald v. City of Chicago,
14
15   561 U.S. 742, 130 S.Ct. 3020 (2010): “it is clear that the Framers and ratifiers of
16
     the Fourteenth Amendment counted the right to keep and bear arms among those
17
18
     fundamental rights necessary to our system of ordered liberty.” 130 S.Ct. at 3043

19   (emphasis added).
20
           13.    As the Supreme Court announced in Heller, “[s]ome have made the
21
22   argument, bordering on the frivolous, that only those arms in existence in the 18th
23
     century are protected by the Second Amendment.                      We do not interpret
24
     constitutional rights that way. Just as the First Amendment protects modern forms
25
26   of communications, e.g., Reno v. American Civil Liberties Union, 521 U.S. 844,
27
     849, 117 S. Ct. 2329 , 138 L.Ed.2d 874 (1997), and the Fourth Amendment applies
28

                                                 –9–
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   to modern forms of search, e.g., Kyllo v. United States, 533 U.S. 27, 35-36, 121 S.
 2
     Ct. 2038, 150 L.Ed.2d 94 (2001), the Second Amendment extends, prima facie, to
 3
 4   all instruments that constitute bearable arms, even those that were not in existence
 5   at the time of the founding.” Heller, 128 S. Ct. 2783, at 2791-2792.
 6
            14.   The firearms that the law in question prohibits are, in virtually every
 7
 8   state of the Union, exactly the sorts of lawful weapons in common use that law-
 9
     abiding people possess at home for lawful purposes; and exactly what they would
10
11   bring to service in militia duty should such cause be necessary. See, e.g., Colorado

12   Outfitters Ass’n v. Hickenlooper, 24 F. Supp. 3d 1050, 1068 (D. Colo. 2014)
13
     (concluding that statute “affects the use of firearms that are both widespread and
14
15   commonly used for self-defense,” because “lawfully owned semi-automatic
16
     firearms using a magazine with the capacity of greater than 15 rounds number in
17
18
     the tens of millions”); Shew v. Malloy, 994 F. Supp. 2d 234, 246 (D. Conn. 2014)

19   (concluding that semi-automatic rifles such as the AR-15 as well as magazines with
20
     a capacity greater than 10 rounds “are ‘in common use’ within the meaning of
21
22   Heller and, presumably, used for lawful purposes”); Friedman v. City of Highland
23
     Park, 577 U.S. ___, 136 S. Ct. 447, 449 (2015) (Thomas, J., dissenting from denial
24
     of certiorari) (“Roughly five million Americans own AR-style semiautomatic
25
26   rifles”).
27
            15.   Indeed, the California Department of Justice itself estimated that there
28

                                                – 10 –
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   were as many as 250,000 gun owners with “Bullet Button Assault Weapons,”
 2
     possessing as many as 1.5 million such firearms1 – the vast majority of which are
 3
 4   AR-15 style rifles – in California alone.
 5         16.    The firearms that the Plaintiffs wish to acquire, keep and lawfully
 6
     possess, but are prevented from doing so, are exactly the type of instruments that
 7
 8   are afforded protection under the Second Amendment for the preservation of self
 9
     and the state by law-abiding people in times of extreme danger.
10
11         17.    The Second Amendment is not a second-class guarantee buried in the

12   fine print at the bottom of our Constitution. As the Court held, “it is clear that the
13
     Framers and ratifiers of the Fourteenth Amendment counted the right to keep and
14
15   bear arms among those fundamental rights necessary to our system of ordered
16
     liberty.” Id. at 3043 (emphasis added).
17
18
           18.    Despite California’s apparent legislative policy preferences and

19   animus towards Second Amendment rights (and, by extension, those who would
20
     lawfully seek to assert and exercise them), “the enshrinement of constitutional
21
22   rights necessarily takes certain policy choices off the table." Heller, 554 U.S., at
23
24
     1
         This estimate is merely a subset of the common variations of the firearms in
25
     question, as it does not include the estimated numbers of fixed magazine firearms
26
     that are expressly not defined as “Bullet-Button Assault Weapons” lawfully
27
     possessed in California.
28

                                                – 11 –
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   636, 128 S. Ct., at 2822. Indeed, the Court “expressly rejected the argument that
 2
     the scope of the Second Amendment right should be determined by judicial interest
 3
 4   balancing,” McDonald, 561 U.S. at 785, 130 S. Ct. at 3047 (quoting Heller,
 5   554 U.S., at 634-636, 128 S. Ct., at 2820-2821).
 6
                          California’s Assault Weapons Control Act
 7
                                 SB 23 “Features” Weapons
 8                                   (Pen. Code § 30515)
 9
            19.   California has had a lengthy struggle with its ongoing attempt to brand
10
11   and restrict normal firearms, that are in common use for lawful purposes and not

12   both    “dangerous    and    unusual,”      as    so-called     “assault   weapons,”   a
13
     politically-concocted pejorative term designed to suggest that there is an inherently
14
15   unlawful or illegitimate basis for owning otherwise common firearms protected by
16
     the Second Amendment.
17
18
            20.   Penal Code section 16200 currently states that the term “assault

19   weapon” is governed by sections 30510 and 30515. But as stated, California’s
20
     attempt to define specifically what constitutes an “assault weapon” has been
21
22   problematic. The first two categories of assault weapons were specifically named
23
     firearms contained within a statutory list of firearms, by make and model, first
24
     enacted pursuant to the Roberti-Roos Assault Weapons Control Act of 1989.
25
26   These firearms are currently found at Penal Code § 30510(a)-(c) (formerly found at
27
     Penal Code § 12276). The second “category” of assault weapons were the “AR and
28

                                                – 12 –
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   AK series” weapons promulgated by the DOJ following Kasler v. Lockyer,
 2
     23 Cal.4th 472 (2000), presently found at 11 Cal. Code of Regs. § 5499. These
 3
 4   first two categories of assault weapons were required to be registered within a
 5   certain period of time, and if they were not registered, they could no longer be
 6
     owned legally within the State of California.
 7
 8         21.    The third category of assault weapons followed the Legislature’s
 9
     attempt to define “assault weapon” not by specific firearm make/model, but by a
10
11   list of features, now generally found in Pen. Code § 30515.                    This

12   characteristics-based attempt to define “assault weapon” followed passage of
13
     Senate Bill 23 (SB 23) in 1999, and featured, most prominently, a ban on the
14
15   possession, sale, and manufacture of semiautomatic, centerfire rifles that had “the
16
     ability to accept a detachable magazine,” and some cosmetic features, such as a
17
18
     flash hider, a pistol grip, or a collapsible stock.

19         22.    In 2016, in order to remedy what it perceived to be a “loophole” in its
20
     flawed definition, the Legislature again tinkered with the Penal Code § 30515
21
22   definition of “assault weapon” by eliminating (most) references to “ability to
23
     accept a detachable magazine,” and requiring all semiautomatic centerfire rifles to
24
     have “fixed magazines” instead. See Pen. Code § 30515(b). This was enacted
25
26   pursuant to Senate Bill 880 and Assembly Bill 1135. And likewise, if certain
27
     legally possessed firearms which did not have “fixed magazines” (as defined by
28

                                                 – 13 –
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   section 30515(b)) were not registered by June 30, 2018, they could no longer be
 2
     possessed, transported, manufactured, or sold.
 3
 4         23.       Additionally, SB 23 (1999), which contained the first characteristics-
 5   based attempt to define the term “assault weapon,” also enacted the first
 6
     restrictions on “large-capacity magazines,” including the now-enjoined Penal Code
 7
 8   § 32310, as a major part of the Act. Indeed, Legislative Counsel’s digest
 9
     accompanying passage of SB 23 stated: “[t]his bill would further define the term
10
11   ‘assault weapon’ by providing descriptive definitions concerning the capacity and

12   function of the weapon” (emphasis added). Thus, SB 23 attempted to define
13
     “assault weapon” not merely by the cosmetic or functional features of the firearm,
14
15   but in some instances, solely by the magazine capacity of the firearm.
16
           24.       When the Legislature enacted SB 880 and AB 1135 in 2016,
17
18
     therefore, it continued to presume that certain firearms – even if they were not

19   otherwise assault weapons by definition – could fall within the definition of assault
20
     weapon by their capacity alone under Penal Code § 30515(a)(2) and (a)(5).
21
22   Specifically,     Penal     Code      30515(a)(2)       defines     “assault   weapon”   as:
23
     “[a] semiautomatic, centerfire rifle that has a fixed magazine with the capacity to
24
     accept more than 10 rounds. And, similarly, section 30515(a)(5) also defines an
25
26   “assault weapon” as: “[a] semiautomatic pistol with a fixed magazine that has the
27
     capacity to accept more than 10 rounds.”
28

                                                    – 14 –
                               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1          25.    Plaintiffs in the present case cannot acquire, possess, manufacture,
 2
     transfer, inherit, or most importantly, use otherwise lawfully held semi-automatic
 3
 4   firearms in common use for lawful purposes because they are proscribed under
 5   various provisions of the Penal Code that prohibit the acquisition, possession,
 6
     manufacture, transfer, and registration of so-define “assault-weapons” under
 7
 8   California law.
 9
                                     CLAIMS FOR RELIEF
10
                                              COUNT I
11
                     Challenge to Pen. Code §§ 30515(a)(2), 30515(a)(5)
12                                Against All Defendants
13
            26.    Plaintiffs incorporate herein by reference paragraphs 1 through 25 as
14
15   if fully set forth herein.
16
            27.    Plaintiffs Miller, Russ and Peterson possess firearms that the state
17
18
     expressly considers not to be assault weapons, by virtue of having fixed magazines

19   as defined by Penal Code § 30515(b), i.e., said firearms have ammunition feeding
20
     devices that are contained in those firearms that cannot be removed without
21
22   disassembly of the firearm action.            California Department of Justice-issued
23
     regulations further define “action” as “the working mechanism of a semiautomatic
24
     firearm, which is the combination of the receiver or frame and breech bolt together
25
26   with the other parts of the mechanism by which a firearm is loaded, fired, and
27
     unloaded,” and states that “‘[d]isassembly of the firearm action’ means the fire
28

                                                  – 15 –
                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   control assembly is detached from the action in such a way that the action has been
 2
     interrupted and will not function. For example, disassembling the action on a
 3
 4   two-part receiver, like that on an AR-15 style firearm, would require the rear take
 5   down pin to be removed, the upper receiver lifted upwards and away from the
 6
     lower receiver using the front pivot pin as the fulcrum, before the magazine may be
 7
 8   removed.” 11 CCR § 5471, subdivs. (b), (n), and (p).
 9
           28.       Plaintiffs Miller, Russ and Peterson own firearms that are “AR-15
10
11   style firearms” that have fixed magazines as defined by Penal Code § 30515(b) and

12   11 CCR § 5471(n), (p). Said firearms are loaded and unloaded by using a device
13
     requiring the user to physically release and separate the upper and the lower
14
15   receivers, in the manner described by 11 CCR § 5471(n), (p), before the magazines
16
     may be removed. Accordingly, these are not assault weapons as defined by statute.
17
18
           29.       Plaintiffs Miller, Russ and Peterson also have legally acquired and

19   currently possess so-called “large-capacity magazines” (as that term is defined by
20
     Penal Code § 16740), that would, if used, operate in these firearms. They desire to
21
22   use these “large-capacity magazines” within their respective firearms, for purposes
23
     of defense in the home, and for all other lawful purposes such as target shooting
24
     and training.
25
26         30.       The Penal Code expressly considers these firearms not to be assault
27
     weapons by virtue of having fixed magazines. The only feature of the firearm that
28

                                                  – 16 –
                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   would “make” it an “assault weapon” under California law would be the insertion
 2
     of a large-capacity magazine, which would be prohibited in Plaintiffs Miller and
 3
 4   Russ’s cases by Penal Code § 30515(a)(2), and in Plaintiff Peterson’s case by
 5   Penal Code § 30515(a)(5).
 6
           31.   However, this Court has already adjudicated and determined that
 7
 8   possession of so-called large-capacity magazines is protected by the Second
 9
     Amendment, and has struck down enforcement of California’s prohibition on the
10
11   possession of said magazines.       See, Duncan v. Becerra, 366 F.Supp.3d 1131

12   (S.D. Cal. 2019), S.D. Case No. 3:17-cv-1017-BEN-JLB (ECF No. 87) (granting
13
     summary judgment in favor of plaintiffs, and granting injunctive relief from
14
15   enforcement of Pen. Code § 32310). Express and implied within this District
16
     Court’s ruling was the right to use such magazines within otherwise legally owned
17
18
     firearms.

19         32.   Plaintiffs therefore seek declaratory and injunctive relief from
20
     enforcement of Pen. Code §§ 30600 (prohibiting manufacture, transportation),
21
22   30605 (prohibiting possession), 30800 (permitting seizure as a “nuisance”),
23
     30910 (prohibiting sale), 30915 (prohibiting transfer by bequest/inheritance),
24
     30945 (limiting use), and 31000 (requiring permits for use), to the extent that such
25
26   prohibitions as to “assault weapons” emanate solely from the legal definition of
27
     assault weapon under sections 30515(a)(2) and 30515(a)(5).
28

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                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1           33.   These statutes prohibiting “assault weapons” solely by virtue of their
 2
     fixed magazine capacity violate Plaintiffs’ right to keep and bear such firearms, as
 3
 4   protected by the Second Amendment. Such firearms are otherwise in ordinary and
 5   common use for lawful purposes, by citizens in California and throughout the
 6
     nation; and, therefore, cannot be banned or restricted in the manner(s) described
 7
 8   herein.
 9
             34.   To the extent that Penal Code §§ 30515(a)(2) and 30515(a)(5) seek to
10
11   define “assault weapons” solely by virtue of their magazine capacity, they are void

12   on their face. To the extent that other enforcement provisions of the Code (sections
13
     30600, 30605, 30800, 30910, 30915, 30945, and 31000) prevent Plaintiffs, and
14
15   others similarly situated, from exercising their right to keep and bear such firearms
16
     in common use, they are subject to challenge as they are or would be applied to
17
18
     them.

19           WHEREFORE, Plaintiffs seek declaratory and injunctive relief as set forth
20
     below.
21
22                                 PRAYER FOR RELIEF
23
             WHEREFORE, Plaintiffs request that judgment be entered in their favor and
24
     against Defendants as follows:
25
26           1.    For declaratory relief adudging that the definition of “assault weapon”
27
     pursuant to Pen. Code § 30515(a)(2) and (a)(5) is unconstitutional on its face, and
28

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                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
 1   violates the Second Amendment;
 2
           2.    For an order permanently enjoining Defendants, their officers, agents,
 3
 4   servants, employees, and all persons in active concert or participation with them
 5   who receive actual notice of the injunction, from enforcement or application of
 6
     Pen. Code §§ 30600, 30605, 30800, 30910, 30915, 30945, and 31000, against
 7
 8   Plaintiffs on an as-applied basis, and against all others, to the extent that such
 9
     prohibitions as to “assault weapons” emanate solely from the legal definition of
10
11   assault weapon under sections 30515(a)(2) and 30515(a)(5);

12         3.    For costs of suit, including attorneys’ fees and costs under
13
     42 U.S.C. § 1988 and any other applicable law; and
14
15         4.    For any and all further relief to which Plaintiffs may be justly entitled.
16
17
18
     August 15, 2019                           GATZKE DILLON & BALANCE LLP
19
20                                             /s John W. Dillon
                                               John W. Dillon
21
     August 15, 2019                           SEILER EPSTEIN LLP
22
23
                                               /s George M. Lee
24                                             George M. Lee
25                                             Attorneys for Plaintiffs
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27
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                                               – 19 –
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
